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VS. § 0 m(

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_' go 3 ms'mc't JUDGE

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TR|NA THOMAS,

Defendant.

 

 

MOT|ON TO CO TlNUE TR|AL

 

Comes now the United States by and through its counse|, Terrel| L. Harris, United
States Attorney forthe Western Districtof Tennessee and moves the Courtto continue the
trial of Trina Thomas currently scheduled for August 8, 2005.

ln support of said motion, the United States submits that the government’s
cooperating witness is in Federal Custody. The United States Marshals have informed
government counsel that this witness is being housed out of state and is deemed to be
experiencing a high risk pregnancy. lt has been further represented that Bureau of Prisons’

l medical staff will not clear her for travel to the Western District of Tennessee. The
government will not be requesting a long continuance as it has been represented by the
United States Marshals that this individual's due date is in September. Pursuant to local
rules, counsel for the defendant has been contacted and indicates he will oppose the

motion.

This document entered on the docket sheet in compliance
with Hu|e 35 and/or 32(b) FF-iCrP on 7 »Z‘?@S

 

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By:

Respectfu||y submitted,

TERRELL L. HARR|S
United States Attorney

V. RAE §L|VER

Assistant United States Attorney
167 N. Main, Room 800
Memphis, TN 38103

(#18831 Tennessee)

CERT|F|CATE OF SERVICE

l, V. Rae Oliver, Assistant United States Attorney for the Western District of

Tennessee, hereby certify that a copy of the foregoing Motion to Continue Tria| has

been mailed, first class postage pre-paid, to K. Jayaraman, 147 Jefferson Avenue,

Memphis, Tennessee 38103, Facsimi|e (901) 522-8243.

This Z_i¢.glday of Juty. 2005.

/ w
V. RAE OLlVER
Assistant United States Attorney
167 N. Nlainl Room 800
Memphis, TN 38103

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CR-20506 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

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Honorable J on MeCalla
US DISTRICT COURT

